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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


                                                    )
  JON BARRETT, Individually and on                  )
  Behalf of All Others Similarly Situated,          )   Case No. ________________
                                                    )
                          Plaintiff,                )
                                                    )   COMPLAINT – CLASS ACTION FOR
            v.                                      )   VIOLATIONS OF SECTIONS 14(a)
                                                    )   AND 20(a) OF THE SECURITIES
  ENVISION HEALTHCARE                               )   EXCHANGE ACT OF 1934
  CORPORATION, WILLIAM A.                           )
  SANGER, CAROL J. BURT,                            )
  LEONARD M. RIGGS, MICHAEL L.                      )   JURY TRIAL DEMANDED
  SMITH, CHRISTOPHER A.                             )
  HOLDEN, JAMES A. DEAL, JOHN                       )
  T. GAWALUCK, STEVEN I.                            )
  GERINGER, JAMES D. SHELTON,                       )
  and JOEY A. JACOBS,                               )
                                                    )
                          Defendants.               )
                                                    )

       Plaintiff Jon Barrett (“Plaintiff”), by and through his undersigned counsel, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                       NATURE OF THE ACTION

       1.        This action is brought as a class action by Plaintiff on behalf of himself and all other

similarly situated public shareholders of Envision Healthcare Corporation (“Envision” or the

“Company”) against Envision and the members of the Company’s board of directors (collectively,

the “Board” or “Individual Defendants,” and, together with Envision, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and Securities and Exchange Commission (“SEC”) Rule

14a-9, 17 C.F.R. § 240.14a-9, and Regulation M-A, 17 C.F.R. § 229.1015(b)(4) (“Item 1015”), in
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connection with the proposed acquisition (the “Proposed Transaction”) of Envision by Kohlberg

Kravis Roberts & Co. L.P. (“KKR”) and its affiliates.1

       2.      On June 10, 2018, the Board caused the Company to enter into an Agreement and

Plan of Merger (“Merger Agreement”) with Parent and Merger Sub, pursuant to which each

common share of Envision will be converted into the right to receive $46.00 in cash (the “Merger

Consideration”).

       3.      On July 9, 2018, in order to convince Envision’s shareholders to vote in favor of

the Proposed Transaction, Defendants authorized the filing of a materially incomplete and

misleading proxy statement (the “Proxy”) with the SEC, in violation of Sections 14(a) and 20(a)

of the Exchange Act.

       4.      In particular, the Proxy contains materially incomplete and misleading information

concerning: (i) financial projections for Envision; (ii) the valuation analyses performed by

Envision’s financial advisors, J.P. Morgan Securities LLC (“J.P. Morgan”), Evercore Group

L.L.C. (“Evercore”), and Guggenheim Securities, LLC (“Guggenheim,” and together with J.P.

Morgan and Evercore, the “Financial Advisors”), in support of their respective fairness opinions;

and (iii) the potential conflict of interests Evercore faced as a result of its historical dealings with

Envision and KKR.

       5.      The special meeting of Envision shareholders to vote on the Proposed Transaction

is scheduled for September 11, 2018 (the “Shareholder Vote”). It is therefore imperative that the

material information that has been omitted from the Proxy is disclosed to the Company’s



1
    Enterprise Parent Holdings Inc. (“Parent”) and Enterprise Merger Sub Inc. (“Merger Sub”), an
indirect wholly owned subsidiary of Parent, are affiliates of investment funds affiliated with KKR
and were formed solely for the purpose of entering into the Merger Agreement and consummating
the Proposed Transaction.


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shareholders prior to the Shareholder Vote so that they can properly exercise their corporate

suffrage rights.

         6.    For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9.

Plaintiff seeks to enjoin Defendants from holding the Shareholder Vote on the Proposed

Transaction and taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Envision’s shareholders sufficiently in

advance of the Shareholder Vote or, in the event the Proposed Transaction is consummated, to

recover damages resulting from the Defendants’ violations of the Exchange Act.

                                            PARTIES

         7.    Plaintiff is, and has been at all relevant times, a shareholder of Envision common

stock.

         8.    Defendant Envision is a Delaware corporation, with its principal executive offices

are located at 1A Burton Hills Boulevard, Nashville, Tennessee 37215. Envision is a leading

provider of physician-led services, post-acute care, and ambulatory surgery services. Envision

common stock trades on the NYSE under the ticker symbol “EVHC.”

         9.    Defendant William A. Sanger is, and has been at all relevant times, a director of

Envision, and currently serves as Chairman of the Board.

         10.   Defendant Carol J. Burt is, and has been at all relevant times, a director of Envision.

         11.   Defendant Leonard M. Riggs is, and has been at all relevant times, a director of

Envision.

         12.   Defendant Michael L. Smith is, and has been at all relevant times, a director of

Envision.




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        13.     Defendant Christopher A. Holden is, and has been at all relevant times, a director

of Envision.

        14.     Defendant James A. Deal is, and has been at all relevant times, a director of

Envision.

        15.     Defendant John T. Gawaluck is, and has been at all relevant times, a director of

Envision.

        16.     Defendant Steven I. Geringer is, and has been at all relevant times, a director of

Envision.

        17.     Defendant James D. Shelton is, and has been at all relevant times, a director of

Envision

        18.     Defendant Joey A. Jacobs is, and has been at all relevant times, a director of

Envision

        19.     The parties in paragraphs 9 through 18 are referred to herein as the “Individual

Defendants” and/or the “Board,” collectively with Envision the “Defendants.”

                                  JURISDICTION AND VENUE

        20.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act.

        21.     Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.




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       22.     Venue is proper in this District under 28 U.S.C. § 1391, because Envision is

incorporated in this District, some of the transaction and wrongs complained of herein, including

Defendants’ primary participation in the wrongful acts detailed herein, occurred in this District,

and Defendants have received substantial compensation in this District by doing business here and

engaging in numerous activities that had an effect in this District.

                                CLASS ACTION ALLEGATIONS

       23.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf of himself

and the other public common shareholders of Envision (the “Class”). Excluded from the Class are

Defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated

with any Defendant.

       24.     This action is properly maintainable as a class action because:

               a) the Class is so numerous that joinder of all members is impracticable. As of

                   August 2, 2018, there were approximately 121.39 million common shares of

                   Envision outstanding, held by hundreds to thousands of individuals and entities

                   scattered throughout the country. The actual number of public shareholders of

                   Envision will be ascertained through discovery;

               b) there are questions of law and fact that are common to the Class that

                   predominate over any questions affecting only individual members, including

                   the following:

                           i.    whether Defendants have misrepresented or omitted material

                                 information concerning the Proposed Transaction in the Proxy in

                                 violation of Section 14(a) of the Exchange Act;




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                    ii.   whether the Individual Defendants have violated Section 20(a) of

                          the Exchange Act; and

                   iii.   whether Plaintiff and other members of the Class will suffer

                          irreparable harm if compelled to vote their shares regarding the

                          Proposed Transaction based on the materially incomplete and

                          misleading Proxy.

         c) Plaintiff is an adequate representative of the Class, has retained competent

            counsel experienced in litigation of this nature and will fairly and adequately

            protect the interests of the Class;

         d) Plaintiff’s claims are typical of the claims of the other members of the Class

            and Plaintiff does not have any interests adverse to the Class;

         e) the prosecution of separate actions by individual members of the Class would

            create a risk of inconsistent or varying adjudications with respect to individual

            members of the Class, which would establish incompatible standards of conduct

            for the party opposing the Class;

         f) Defendants have acted on grounds generally applicable to the Class with respect

            to the matters complained of herein, thereby making appropriate the relief

            sought herein with respect to the Class as a whole; and

         g) a class action is superior to other available methods for fairly and efficiently

            adjudicating the controversy.




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                                SUBSTANTIVE ALLEGATIONS

   I.    Background of the Company and the Proposed Transaction

        25.    Envision is a leading provider of physician-led services, post-acute care, and

ambulatory surgery services. As of March 31, 2018, Envision delivered physician services,

including in the areas of emergency department and hospitalist services, anesthesiology services,

radiology/tele-radiology services, and children’s services to more than 1,800 clinical departments

in healthcare facilities in 45 states and the District of Columbia. Post-acute care is delivered

through an array of clinical professionals and integrated technologies which, the Company believes

when combined, contribute to efficient and effective population health management strategies.

Envision owns and operates 261 surgery centers and one surgical hospital in 35 states and the

District of Columbia, with medical specialties ranging from gastroenterology to ophthalmology

and orthopedics.

        26.    KKR is a leading global investment firm that manages multiple alternative asset

classes, including private equity, growth equity, energy, infrastructure, real estate, and credit, with

strategic manager partnerships that manage hedge funds. KKR aims to generate attractive

investment returns for its fund investors by following a patient and disciplined investment

approach, employing world-class people, and driving growth and value creation with KKR

portfolio companies. KKR invests its own capital alongside the capital it manages for fund

investors and provides financing solutions and investment opportunities through its capital markets

business.

        27.    Parent is a Delaware corporation, an affiliate of investment funds affiliated with

KKR, and was formed solely for the purpose of entering into the Merger Agreement and

consummating the Proposed Transaction.




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       28.     Merger Sub is a Delaware corporation, an indirect wholly owned subsidiary of

Parent that will function as the merger subsidiary in the merger, and is an affiliate of investment

funds affiliated with KKR. Merger Sub was formed solely for the purpose of entering into the

Merger Agreement and consummating the Proposed Transaction.

       29.     On June 11, 2018, Envision issued a press release announcing the Proposed

Transaction. The press released, stated in relevant part:

                 Envision Healthcare to be Acquired by KKR for $46.00 Per
                               Share in All-Cash Transaction

                  Sale Follows Comprehensive Review of Strategic Alternatives

                    32% Premium to VWAP from Announcement of Review of
                                   Strategic Alternatives

                           Represents Enterprise Value of $9.9 Billion

               NASHVILLE, TN – June 11, 2018 – Envision Healthcare
               Corporation (“Envision” or the “Company”) (NYSE: EVHC) today
               announced it has entered into a definitive agreement to be acquired
               by global investment firm KKR in an all-cash transaction for
               approximately $9.9 billion, including the assumption or repayment
               of debt. Under the terms of the agreement, which has been
               unanimously approved by Envision’s Board of Directors (the
               “Board”), KKR will acquire all of the outstanding shares of
               Envision’s common stock for $46.00 per share in cash, representing
               a 32% premium to Envision’s volume-weighted average share price
               (VWAP) from November 1, 2017, the day immediately following
               the Company’s first announcement that it was reviewing strategic
               alternatives. The transaction price represents a multiple of 10.9x
               trailing 12 months Adjusted EBITDA and 10.1x 2018 anticipated
               Adjusted EBITDA.

               The agreement represents the culmination of the Board’s
               comprehensive review of strategic alternatives to enhance
               shareholder value. During the last seven months, the Board, with the
               assistance of three independent financial advisors and legal counsel,
               examined a full range of options to generate shareholder value,
               including capital structure alternatives, potential acquisitions,
               portfolio optimization, a potential sale of the whole company, and
               continued operation as a standalone business. The Board oversaw



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         an extensive process that involved outreach to 25 potential buyers,
         including financial sponsors and strategic entities, and invited
         proposals for all or parts of the business. After consideration of the
         opportunities, risks and uncertainties facing the Company and the
         broader sector, as well as the alternatives available to the Company,
         the Board determined that the KKR proposal presented the best
         opportunity to maximize value for shareholders.

         James D. Shelton, Envision’s Lead Independent Director,
         commented, “After conducting a robust review of the business and
         competitive landscape, the Company’s opportunities and
         challenges, and the strategic and financial alternatives available to
         the Company, the Board unanimously believes that this transaction
         will deliver the most value to Envision’s shareholders.”

         Christopher A. Holden, Envision’s President, Chief Executive
         Officer and Director, added, “Envision’s leadership team –
         including both the Board and management – have been singularly
         focused on driving value for our shareholders and have taken
         decisive action in furtherance of that goal, including the
         implementation of a comprehensive operational improvement plan
         and a robust review of strategic alternatives. Today’s announcement
         reflects the extensive efforts by our team to explore all opportunities
         to deliver value for our shareholders.”

         “Envision is a leading provider of physician-led services in a health
         care system in which physician-patient interactions have a
         pronounced impact on nearly all health care decisions. Envision has
         a very strong reputation for delivering high-quality, patient-focused
         care through its network of 25,000 clinical professionals at
         thousands of hospitals, surgery centers and alternate sites of care
         across the country,” said Jim Momtazee, Head of KKR’s Health
         Care investment team. “We are excited to partner with the
         outstanding team led by Chris Holden to help build upon the strong
         foundation in place and accelerate Envision’s growth going
         forward.”

         The completion of the transaction, which is targeted for the fourth
         quarter of 2018, is subject to customary closing conditions and
         regulatory approvals. Envision intends to present the proposed
         transaction to its shareholders for approval at the Company’s 2018
         Annual Meeting, which will be scheduled as soon as practicable
         following the filing and review of proxy materials. The Company
         intends to hold its Annual Meeting no later than October 1, 2018.
         Upon the completion of the transaction, Envision will become a




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              private company, and its common stock will no longer be traded on
              the New York Stock Exchange.

              KKR will be making the investment primarily from its KKR
              Americas Fund XII.

              J.P. Morgan Securities LLC, Evercore and Guggenheim Securities
              LLC are serving as financial advisors and Wachtell, Lipton,
              Rosen & Katz and Bass, Berry & Sims are serving as legal counsel
              to Envision. Simpson Thacher & Bartlett LLP is acting as legal
              counsel to KKR. Fully committed debt financing for the transaction
              will be provided by Citigroup Global Markets, Credit Suisse,
              Morgan Stanley, Barclays, Goldman Sachs, Jefferies, UBS
              Investment Bank, RBC Capital Markets, HSBC, Mizuho, and KKR
              Capital Markets.2

        30.   The Merger Consideration the Company’s shareholders stands to receive if the

Proposed Transaction is consummated is unfair and inadequate because, among other things, the

intrinsic value of the Envision is materially in excess of the amount offered given the Company’s

prospects for future growth and earnings.

        31.   For example, on Envision announced its Fourth Quarter and Year End 2017

Financial Results. During the Company’s earnings call, Christopher Holden, the Company’s Chief

Executive Officer and President stated:

              Our fourth quarter results demonstrate our ability to align our cost
              to the volumes across our specialties, and we are driving additional
              operational efficiencies across the organization in 2018, with full
              realization into 2019.

              Now 2017 was a challenging first year for new Envision following
              the merger. Utilization headwinds, natural disasters, executive
              leadership changes, and portfolio rationalization all added
              complexity to our launch. But despite these challenges, we made
              great progress towards our long-term vision. We remain bullish on
              our strategy, and our team is engaged in expanding our market


2
   Envision Healthcare Corp., Current Report (Form 8-K), at Exhibit 99.1 (Press Release dated
June 11, 2018 of Envision Healthcare Corporation.) (June 11, 2018).




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                 leadership. Positive results from new contract sales, managed care
                 contracting efforts, acquisitions, and others in 2017 confirm our
                 directional momentum headed into 2018.3

           32.   Kevin Eastridge, Envision’s Chief Financial Officer, further highlighted the

Company’s favorable performance and optimistic outlook:

                 Overall, this was a solid quarter relative to the guidance we provided
                 last quarter. Net patient revenues for the fourth quarter were $2
                 billion, which is within our guided range. Adjusted EBITDA was
                 $211.4 million, above the top end of our guided range. Adjusted
                 net earnings was $71.9 million or $0.59 per diluted share, also above
                 our guidance. For the fourth quarter, cash flow from operations
                 was solid.

                 [***]

                 Finally, in our press release last night, we also introduced 2018
                 guidance. We expect to generate revenue of $8.35 billion to $8.53
                 billion in 2018, a growth of roughly 7% to 9%. Our assumptions
                 include organic revenue growth of 2% to 5% for all of Envision,
                 which consists of same-contract Physician Services revenue growth
                 of 1% to 3%, net new contract revenue growth for Physician
                 Services of 2% to 3%, and same-center Ambulatory Services
                 revenue growth of 1% to 2%. Same-contract, same-center revenue
                 growth consists of both rate and volume growth. We also expect to
                 use our free cash flow to invest approximately $400 million in
                 acquisitions throughout the year.4

           33.   As seen above, Envision is poised for considerably growth. However, if the

Proposed Transaction is consummated, Envision shareholders will be forced to accept a one-time

payment of cash and forsake any future interest in the Company. As a result, it is imperative that

shareholders receive the material information (discussed in detail below) that Defendants have

omitted from the Proxy, which is necessary for shareholders to properly exercise their corporate



3
   Envision Healthcare (EVHC) Q4 2017 Results - Earnings Call Transcript, Seeking Alpha
(Feb. 28, 2018), available at https://seekingalpha.com/article/4151775-envision-healthcare-evhc-
q4-2017-results-earnings-call-transcript?part=single.
4
     Id.


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suffrage rights and make an informed decision concerning whether to vote in favor of the Proposed

Transaction.

  II.   The Materially Incomplete and Misleading Proxy

        34.    On July 9, 2018, Envision filed the Proxy with the SEC in connection with the

Proposed Transaction. The Proxy solicits the Company’s shareholders to vote in favor of the

Proposed Transaction. The Individual Defendants were obligated to carefully review the Proxy

before it was filed with the SEC and disseminated to the Company’s shareholders to ensure that it

did not contain any material misrepresentations or omissions. However, the Proxy misrepresents

and/or omits material information that is necessary for the Company’s shareholders to make an

informed decision concerning whether to vote in favor of the Proposed Transaction, in violation

of Sections 14(a) and 20(a) of the Exchange Act.

        35.    First, with respect to the Management Sensitivity Case projections, the Proxy fails

to disclose sufficient concerning the feedback that the Company received from shareholders and

bidders regarding various risks and uncertainties that Envision management considered when

deciding to prepare the Management Sensitivity Case projections. See Proxy at 50.

        36.    Numerous courts have championed the importance of management based financial

projections because a company’s management has unique insight into their firm’s future that the

market does not.    Shareholders cannot hope to replicate management’s inside view of the

Company’s prospects. The established case law shows the importance (and, hence, materiality) of

financial projections to shareholders' decision-making.

        37.    By electing to disclose some of Envision’s projections, Defendants’ obligated

themselves to speak the whole truth regarding Envision’s projections by providing complete and

accurate projections because if a proxy discloses financial projections and valuation information,




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such projections must be complete and accurate, rather than cherry-picking favorable financial

metrics to disclose. The question here is not the duty to speak, but liability for not having spoken

enough. With regard to future events, uncertain figures, and other so-called soft information, a

company may choose silence or speech elaborated by the factual basis as then known—but it may

not choose half-truths.

         38.   Second, the Proxy describes each of the Financial Advisors’ fairness opinions and

the various valuation analyses performed in support of their opinions. However, the description

of the fairness opinions and their respective analyses fails to include key inputs and assumptions

underlying the analyses. Without this information, as described below, Envision’s shareholders

are unable to fully understand these analyses and, thus, are unable to determine what weight, if

any, to place on each of the Financial Advisors’ fairness opinions in determining whether to vote

their shares in favor of the Proposed Transaction. This omitted information, if disclosed, would

significantly alter the total mix of information available to Envision’s common shareholders.

         39.   With respect to J.P. Morgan’s Discounted Cash Flow Analysis, the Proxy fails to

disclose the following key components used in their analysis: (i) the range of Envision’s terminal

asset values at the end of the five-year period ending in 2022; (ii) the inputs and assumptions

underlying the calculation of the perpetual growth rates range of 1.0% to 1.5%; and (iii) the inputs

and assumptions underlying the calculation of the discount rate range of 8.0% to 9.0%. See Proxy

at 55.

         40.   With respect to Evercore’s Discounted Cash Flow Analysis, the Proxy fails to

disclose the following key components used in their analysis: (i) the range of Envision’s terminal

values under the Management Case and Management Sensitivity Case projections; (ii) the inputs

and assumptions underlying the calculation of the perpetual growth rates range of 1.0% to 2.0%;




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(iii) the inputs and assumptions underlying the calculation of the discount rate range of 8.0% to

9.0%; and (iv) Envision’s net debt as of June 30, 2018. See Proxy at 62.

       41.     With respect to Guggenheim’s Discounted Cash Flow Analysis, the Proxy fails to

disclose the following key components used in their analysis: (i) Envision’s estimate/continuing

value and the projected horizon; (ii) the inputs and assumptions underlying the calculation of the

perpetual growth rates of 1.0% to 1.5%; and (iii) the inputs and assumptions underlying the

calculation of the discount rate range of 8.0% to 9.0%. See Proxy at 71.

       42.     These key inputs are material to Envision shareholders, and their omission renders

the summary of J.P. Morgan, Evercore, and Gugenheim’s discounted cash flow (“DCF”) analyses

incomplete and misleading. As a highly-respected professor explained in one of the most thorough

law review articles regarding the fundamental flaws with the valuation analyses bankers perform

in support of fairness opinions, in a DCF analysis a banker takes management’s forecasts, and then

makes several key choices “each of which can significantly affect the final valuation.” Steven M.

Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices include “the

appropriate discount rate, and the terminal value…” Id. As Professor Davidoff explains:


               There is substantial leeway to determine each of these, and any
               change can markedly affect the discounted cash flow value. For
               example, a change in the discount rate by one percent on a stream of
               cash flows in the billions of dollars can change the discounted cash
               flow value by tens if not hundreds of millions of dollars… This issue
               arises not only with a discounted cash flow analysis, but with each
               of the other valuation techniques. This dazzling variability makes it
               difficult to rely, compare, or analyze the valuations underlying a
               fairness opinion unless full disclosure is made of the various inputs
               in the valuation process, the weight assigned for each, and the
               rationale underlying these choices. The substantial discretion and
               lack of guidelines and standards also makes the process vulnerable
               to manipulation to arrive at the “right” answer for fairness. This
               raises a further dilemma in light of the conflicted nature of the
               investment banks who often provide these opinions.



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Id. at 1577-78 (emphasis added).         Without the above-mentioned information, Envision

shareholders cannot evaluate for themselves the reliability of J.P. Morgan, Evercore, and

Gugenheim’s DCF analyses, make a meaningful determination of whether the implied per share

equity value reference ranges reflect the true value of the Company or was the result of J.P.

Morgan, Evercore, and Gugenheim’s unreasonable judgment, and make an informed decision

regarding whether to vote their shares in the Proposed Transaction.

       43.     With respect to J.P. Morgan’s Public Trading Multiples analysis, the Proxy fails to

disclose the individual multiples J.P. Morgan calculated for each company utilized. See Proxy at

53-54. The omission of these multiples renders the summary of the analysis and the implied per

share equity value reference ranges materially misleading. A fair summary of a companies

analysis requires the disclosure of the individual multiples for each company; merely providing

the range that a banker applied is insufficient, as shareholders are unable to assess whether the

banker applied appropriate multiples, or, instead, applied unreasonably low multiples in order to

drive down the implied per share equity value reference ranges. Accordingly, J.P. Morgan’s

Public Trading Multiples analysis is materially incomplete and misleading, and the individual

multiples for each company observed must be disclosed so Envision shareholders can determine

whether the implied per share equity value reference ranges set forth in the Proxy actually reflect

the true value of their interest in the Company.

       44.     Likewise, with respect to J.P. Morgan’s Selected Transactions Analysis, the Proxy

fails to disclose the individual multiples J.P. Morgan calculated for each transaction utilized. For

the same reasons mentioned above, the failure to disclose the individual multiples for each of the

transactions that were considered renders the summary of the analysis and the implied per share

equity value reference ranges materially misleading.



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       45.     The Proxy also fails to disclose or misstate material information relating that

materially misleads shareholders as to the potential conflicts of interest faced by the Board and

Evercore.

       46.     Specifically, the Proxy states:

               During the two-year period prior to the date of its written opinion,
               Evercore and its affiliates have provided financial advisory services
               to Envision for which Evercore received fees, including the
               reimbursement of expenses, in an amount equal to approximately $5
               million in the aggregate. During the two-year period prior to the date
               of its written opinion, Evercore and its affiliates have also provided
               financial services to KKR, an affiliate of Parent, and its affiliates
               and portfolio companies, for which Evercore received fees,
               including the reimbursement of expenses in an amount equal to
               approximately $32.5 million in the aggregate.

However, the Proxy fails to disclose sufficient information concerning Evercore’s historical

relationship with Envision and KKR, including the nature of their relationship and what services

were performed. Such information is material to Envision shareholders.

       47.     The nature of Evercore’s historical relationship and the specific work performed

for Envision is required pursuant to Item 1015. Such information is also material to Envision

shareholders. It is imperative for shareholders to understand what factors might influence a

financial advisor’s analytical efforts. Indeed, an investment bank providing a fairness opinion for

long-standing clients may be influenced to find a transaction fair to avoid irritating management

and other corporate actors who stand to benefit from the transaction, as this will ensure future

lucrative business.

       48.     Likewise, Evercore’s historical relationship and the specific work performed for

KKR is equally material to Envision shareholders as a financial advisor’s interest in a proposed

merger must be carefully considered in assessing how much credence to give its analysis. It is

critical that shareholders understand the arrangements that such advisors are operating under in



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order to determine whether there may be conflicts that call into question the independence of such

advisors and/or the adequacy of their fairness opinion as a whole

          49.   Accordingly, the omission of specific details concerning Evercore’s previous work

performed for Envision and KKR renders the Proxy materially incomplete and misleading.

          50.   In sum, the omission of the above-referenced information renders the Proxy

materially incomplete and misleading, in contravention of the Exchange Act. Absent disclosure

of the foregoing material information prior to the expiration of the Proposed Transaction, Plaintiff

and the other members of the Class will be unable to make an informed decision regarding whether

to vote in favor of the Proposed Transaction, and they are thus threatened with irreparable harm,

warranting the injunctive relief sought herein.

                                             COUNT I

      (Against All Defendants for Violations of Section 14(a) of the Exchange Act and
             Rule 14a-9 and 17 C.F.R . § 240.14a-9 Promulgated Thereunder)

          51.   Plaintiff incorporate each and every allegation set forth above as if fully set forth

herein.

          52.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          53.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and



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in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

        54.     The omission of information from a Proxy will violate Section 14(a) and Rule 14a-

9 if other SEC regulations specifically require disclosure of the omitted information.

        55.     Item 1015 of Regulation M-A requires “[a]ny report, opinion or appraisal relating

to the consideration or the fairness of the consideration to be offered to security holders or the

fairness of the transaction to the issuer or affiliate or to security holders who are not affiliates” to

“[d]escribe any material relationship that existed during the past two years or is mutually

understood to be contemplated and any compensation received or to be received as a result of the

relationship between: (i) The outside party, its affiliates, and/or unaffiliated representative; and (ii)

The subject company or its affiliates.” 17 CFR § 229.1015.

        56.     Defendants have issued the Proxy with the intention of soliciting the Company’s

common shareholders’ support for the Proposed Transaction. Each of the Defendants reviewed

and authorized the dissemination of the Proxy, which fails to provide critical information

regarding, amongst other things: (i) financial projections for Envision; (ii) the valuation analyses

performed by the Financial Advisors in support of each of their fairness opinions; and (iii) the

potential conflict of interest potential conflicts of interest Evercore faced as a result of its historical

dealings with Envision and KKR.

        57.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were




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therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy, but nonetheless failed to obtain and disclose such information

to common shareholders although they could have done so without extraordinary effort.

       58.     The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.

The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction; indeed, the Proxy states that the Financial Advisors reviewed and discussed

their financial analyses with the Board, and further states that the Board considered the financial

analyses provided by the Financial Advisors, as well as their respective fairness opinions and the

assumptions made and matters considered in connection therewith. Further, the Individual

Defendants were privy to and had knowledge of the projections for the Company and the details

surrounding the process leading up to the signing of the Merger Agreement. The Individual

Defendants knew or were negligent in not knowing that the material information identified above

has been omitted from the Proxy, rendering the sections of the Proxy identified above to be

materially incomplete and misleading. Indeed, the Individual Defendants were required to,

separately, review the Financial Advisors’ analyses in connection with their receipt of their

fairness opinions, question Financial Advisors as to their derivation of fairness, and be particularly

attentive to the procedures followed in preparing the Proxy and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

       59.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The




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Individual Defendants were negligent in choosing to omit material information from the Proxy or

failing to notice the material omissions in the Proxy upon reviewing it, which they were required

to do carefully as the Company’s directors. Indeed, the Individual Defendants were intricately

involved in the process leading up to the signing of the Merger Agreement and the preparation of

the Company’s financial projections.

          60.   Envision is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

          61.   The misrepresentations and omissions in the Proxy are material to Plaintiff and the

Class, who will be deprived of their right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff and the Class

have no adequate remedy at law. Only through the exercise of this Court’s equitable powers can

Plaintiff and the Class be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                            COUNT II

  (Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act)

          62.   Plaintiff incorporate each and every allegation set forth above as if fully set forth

herein.

          63.   The Individual Defendants acted as controlling persons of Envision within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Envision, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and




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dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

       64.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       65.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same.           The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing this document.

       66.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       67.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       68.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these




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Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       69.     Plaintiff and the Class have no adequate remedy at law. Only through the exercise

of this Court’s equitable powers can Plaintiff and the Class be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class Representative and his counsel as Class Counsel;

       B.      Enjoining Defendants and all persons acting in concert with them from proceeding

with the shareholder vote on the Proposed Transaction or consummating the Proposed Transaction,

unless and until the Company discloses the material information discussed above which has been

omitted from the Proxy;

       C.      Directing the Defendants to account to Plaintiff and the Class for all damages

sustained as a result of their wrongdoing;

       D.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

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Dated: August 9, 2018
                                        COOCH AND TAYLOR, P.A.

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